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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 BROADCAST MUSIC, INC.; CYANIDE
 PUBLISHING; BOCEPHUS MUSIC, INC.;
 HOUSE OF CASH, INC.; VELVET APPLE
                                                       Civil Action No. 1:18-cv-00599-RLY-MPB
 MUSIC; COMBINE MUSIC CORP.; GIBB
 BROTHERS MUSIC; CROMPTON SONGS;
 SONGS OF UNIVERSAL, INC.; FAIZILU
 PUBLISHING; SUTJUJO MUSIC,

                           Plaintiffs,

 V.

 NOBLE’S BAR & GRILL, LLC d/b/a BAR
 NOBLE a/k/a NOBLE BAR and GRILL and
 JAMIE NOBLE and DAN NOBLE, JR., each
 Individually,
                  Defendants.

                           CORPORATE DISCLOSURE STATEMENT
      Defendants, by and through their attorneys, Wesch Law Firm P.C., pursuant to Rule 7.1 of
the FEDERAL RULES OF CIVIL PROCEDURE, provide the following corporate ownership
disclosures:

        1.        No parent corporation or publicly held corporation owns 10% or more of the
membership interest in NOBLE’S BAR & GRILL, LLC.

               Dated this 25th day of July, 2018.




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                                                           Respectfully Submitted,




                                                           Joel L. Wesch
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                                                           ATTORNEY FOR DEFENDANTS

                                 CERTIFICATE OF SERVICE

          I hereby certify that on July 25th, 2018, I filed the foregoing with the Clerk of Court
using the ECF system which will send notification of such filing to the following:

April A. Wimberg
Bingham Greenbaum & Doll LLC
3500 PNC Tower
101 South Fifth Street
Louisville, KY 40202




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